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 1                                                                 The Honorable Benjamin H. Settle
 2

 3

 4

 5

 6

 7

 8
                              UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
10
     ROQUE “ROCKY” DE LA FUENTE,
11                                                           Case No. 3:16-cv-058011-BHS
                                 Plaintiff,
12
              v.
13                                                           SECOND DECLARATION OF
     KIM WYMAN, in her official capacity as                  LORI AUGINO IN SUPPORT OF
14   the Secretary of State of the State of                  DEFENDANT’S MOTION FOR
     Washington                                              SUMMARY JUDGMENT
15
                                 Defendant.
16
              I, Lori Augino, declare as follows:
17

18   1.       I am over eighteen years of age and competent to testify. The information stated below

19   is true and correct and based on my own knowledge.

20   2.       I currently serve as the Director of Elections in the Office of the Secretary of State of
21   Washington. My job entails ensuring Washington’s elections are conducted in a transparent,
22
     accurate, consistent, and secure manner. This includes, among other duties, assisting county
23
     auditors conduct elections, working on election-related policy for the Secretary of State,
24
     processing candidate filings, certifying certain candidates for the ballot, and certifying elections.
25
26   I have held this position for 4 years.


          SECOND DECLARATION OF                          1                ATTORNEY GENERAL OF WASHINGTON
                                                                                   1125 Washington Street SE
          LORI AUGINO                                                                   PO Box 40100
                                                                                    Olympia, WA 98504-0100
                                                                       (360) 753-6200
          Case No. 3:16-cv-058011-BHS
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 1   3.       A representative of Mr. De La Fuente requested that the Secretary of State’s Office
 2
     reconsider the decision to reject his certificate of nomination. Exhibit 1 is a true and correct
 3
     copy of the letter that I sent in response on August 11, 2016, declining to reconsider. In the letter,
 4
     I informed Mr. De La Fuente of his appeal rights under Wash. Rev. Code § 29A.56.670 and
 5
     informed him that he still had time to file as a write-in candidate.
 6

 7   4.       Mr. De La Fuente timely submitted a declaration of write-in candidacy. Exhibit 2 is a

 8   true and correct copy of Washington’s Official List of Presidential Write-In Candidates for the
 9   2016 General Election. Mr. De La Fuente’s name appears on page 4 as a candidate for the
10
     American Delta Party.
11
     5.       For the 2016 presidential election, five minor party candidates were able to meet all of
12
     Washington’s statutory requirements, including the requirement that there be notice of the minor
13

14   party convention. All five of those candidates appeared on the general election ballot. Exhibit 3

15   are true and correct copies of the Green Party’s proof of publication for several conventions held

16   in several counties in Washington in 2016.
17   6.       In 2012, six minor party candidates were able to meet all of Washington’s statutory
18
     requirements and appeared as presidential candidates on the general election ballot. In 2008, five
19
     minor party candidates and one independent candidate were able to meet all of Washington’s
20
     statutory requirements and appeared as presidential candidates on the general election ballot.
21

22   7.       The State has an important interest in requiring independent candidates and minor parties

23   to give ten-days’ notice of their nominating conventions in a newspaper of general circulation in

24   the county where the convention is held. For minor party and independent candidates,
25
26


          SECOND DECLARATION OF                           2                ATTORNEY GENERAL OF WASHINGTON
                                                                                    1125 Washington Street SE
          LORI AUGINO                                                                    PO Box 40100
                                                                                     Olympia, WA 98504-0100
                                                                        (360) 753-6200
          Case No. 3:16-cv-058011-BHS
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     nominating conventions often provide the first opportunity for voters to come together to learn
 2   about a party or a candidate and their platform.
 3
     8.       Conventions also must select the slate of presidential electors for the party or independent
 4
     candidate. If a Washington citizen wants to learn about a minor party or independent candidate ' s
 5
     platform or be elected to serve as an elector for the party or independent candidate, he or she
 6

 7   must to know when and where the relevant convention will occur.

 8   9.       Notice in a newspaper of general circulation has been the method of notice for minor

 9   party and independent candidate conventions for decades. Notice in a newspaper of general
10
     circulation is also required for state and local elections. It is reasonable to conclude that given
II
     these longstanding requirements, newspaper publication is the means through which citizens
12
     expect to be notified electoral events, including notice of minor party and independent candidate
13
     conventions.
14

15   10.      To the Secretary of State's Office ' s knowledge, no minor party or independent

16   presidential candidate seeking placement on Washington ' s ballot has ever failed to meet the
17   notice requirement found in Wash . Rev. Code § 29A.56.620, except the American Delta Party
18
     on behalf of Mr. De La Fuente.
19
              I swear under penalty of perjury under the laws of the state of Washington that the
20
     foregoing is true and correct and of my own knowledge, and that I executed this declaration at
21

22   Olympia, Washington, on October 3, 2017.

23                                                                             '
24

25                                                      G    0 , DIRECTOR OF ELECTIONS
                                                            SECRETARY OF STATE
26


          SECOND DECLARATION OF                             3             ATTORNEY GENERA L OF WAS HI NG TON
                                                                                11 25 Washington Street SE
          LORI AUGINO                                                                  PO Box 40 100
                                                                                Olympi a, WA 98504 -0 100
                                                                                      (360) 753 -6200
          Case No. 3:16-cv-058011-BHS
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                                                          EXHIBIT 1
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 Official List of Presidential Write-In Candidates for the 2016 General Election
The following persons have declared as write-in candidates for U.S. President or the combined offices of President
and Vice President of the United States of America. Write-in candidate names will not be printed on the ballot or
appear in the Voters' Pamphlet. Voters wishing to cast a vote for any of the following candidates must write in the
name of the candidate on the ballot. Votes for an individual write-in candidate are tallied by name only if the total
number of write-in votes cast exceeds the total votes cast for the apparent top vote getter appearing on the ballot.


 Candidate's Name                                  Political Affiliation               Campaign Information
 Mitchell Williams (President)                     Tea Drinkers Party                  PO Box 33
 No Vice Presidential candidate                                                        Palatka, FL 32178
                                                                                       386.329.8603
 Vickie Lynn Denz (President)                      Independent Candidate               2126 W. Pacific Ave. #203
 No Vice Presidential candidate                                                        Spokane, WA 99201
                                                                                       509.309.9988
                                                                                       macanoodos@hotmail.com
                                                                                       www.macanoodos.com
 Denny Carroll Jackson (President)                 Independent Candidates              10867 US Hwy. 421 N
 Michelle Kaye Hicks (Vice President)                                                  Milton, KY 40045
                                                                                       812.216.3920
                                                                                       djackson@switzsc.org
 Cynthia T. Cavazos (President)                    Independent Candidate               104 S. San Eduardo
 No Vice Presidential candidate                                                        San Antonio, TX 78237
                                                                                       210.383.0567
                                                                                       meetcynthia@ourlook.com
 Platt Allen Robertson (President)                 Independent Candidates              7162 Dravite Ct.
 Scott C. Falls (Vice President)                                                       Las Vegas, NV 89148
                                                                                       972.979.7023
                                                                                       Robertsonfalls2012@gmail.com
                                                                                       http://robertsonfalls4america.blogspot.com
 Gerald John Jennings (President)                  Independent Candidate               4325 N Smoketree Rd.
 No Vice Presidential candidate                                                        Golden Valley, AZ 86413
                                                                                       702.762.6984
                                                                                       Jennings2forpresident@gmail.com
                                                                                       www.Jennings2forpresident.nationbilder.com
 Charles David Limbaush (President)                Independent Candidate               542 Warrior Dr
 No Vice Presidential candidate                                                        Murtreesboro, TN 37128
                                                                                       615.545.2352
                                                                                       Limbaushgingrich2016@gmail.com
 Cherunda Lynn Fox (President)                     Independent Candidates              17145 Gable
 Roger Matthew Kushner (Vice President)                                                Detroit, MI 48212
                                                                                       313.368.0647
                                                                                       cherundafox@yahoo.com
                                                                                       www.foxforpresident.com
 Lonny Paul Huffman (President)                    Independent Candidate               212 Virginia St
 No Vice Presidential candidate                                                        Kelso, WA 98626
                                                                                       360.423.8676
 Monica Gail Moorehead (President)                 Workers World Party                 147 W. 24th St. 2nd Fl
 No Vice Presidential candidate                                                        New York, NY 1001
                                                                                       917.740.2628
                                                                                       wwp2016@workers.org
                                                                                       www.workers.org/wwp


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 Official List of Presidential Write-In Candidates for the 2016 General Election

 Candidate's Name                                  Political Affiliation               Campaign Information
 Ben Hartnell (President)                          Independent Candidates              1025 Autumn Lake Ct
 Dave Marshall (Vice President)                                                        Westerville, OH 43081
                                                                                       614.353.2773
                                                                                       Lowertaxes.morebeard@gmail.com
                                                                                       www.ElectTheBeard.com
 Samuel Lewis Tabor (President)                    Independent Candidates              209 E 4th
 Sondra Sharlet Tabor (Vice President)                                                 Mobeetie, TX 79061
                                                                                       214.620.9400
                                                                                       www.SamueltaborforPresident.com
 Joseph A Maldonado (President)                    Independent Candidate               25893
 No Vice Presidential candidate                                                        NCR 3250
                                                                                       Wynnewood, OK 73098
                                                                                       405.665.1003
                                                                                       Joe_exotic@yahoo.com
                                                                                       www.joeexotic2016.com
 Tony Valdivia (President)                         Independent Candidates              11306 Candle Park
 Aaron Barriere (Vice President)                                                       San Antonio, TX 78249
                                                                                       713.703.8856
                                                                                       ajvaldivia@att.net
                                                                                       www.facebook.com/tony4president
 Betsy Pauline Elgar (President)                   Constitutional Party                8914 Veterns Dr SW #C
 No Vice Presidential candidate                                                        Lakewood, WA 98498
                                                                                       253.289.2043
                                                                                       Georgecatpin0425@gmail.com
 Christopher Robert Keniston (President)           Veterans Party of America           2329 15th St
 Deacon Newell Taylor (Vice President)                                                 Vernon, TX 76384
                                                                                       318.471.7315
                                                                                       Chriskeniston2016@gmail.com
                                                                                       www.chriskeniston2016.com
 Coop Smith (President)                            Independent Candidate               853 Salt Point Turnpike
 No Vice Presidential candidate                                                        Poughkeepsie, NY 12601
                                                                                       845.723.5374
 Andrew Daniel Basiago (President)                 Independent Candidates              5806 Prosperity Church Rd
 Karen Dell Kinnison (Vice President)                                                  Suite A2-144
                                                                                       Charlotte, NC 28269
                                                                                       360.990.9970
                                                                                       Andy.andy2016@gmail.com
                                                                                       www.andy2016.com
 Marshall Roy Schoenke (President)                 Marshall Schoenke Party             21924 Linden Ave
 James Crighton Michell, Jr. (Vice President)                                          Lake Villa, IL 60046
                                                                                       847.533.0408
                                                                                       bambamamun@gmail.com
                                                                                       www.writeinmarshall.com
 Laurence Kotlikoff (President)                    Independent Candidates              203 St. Botelph St #3
 Edward Emery Leamer (Vice President)                                                  Boston, MA 02115
                                                                                       617.834.2148
                                                                                       kotlikoff@gmail.com
                                                                                       www.kotlikoff2016.com




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 Official List of Presidential Write-In Candidates for the 2016 General Election

 Candidate's Name                                  Political Affiliation               Campaign Information
 Janet L. Reid (President)                         Republican Party                    3991 E 160 N
 No Vice Presidential candidate                                                        Rigby, ID 83442
                                                                                       208.716.4631

 Ameer Xenos Flippin (President)                   Independent Candidate               4713 Wisconsin Ave NW
 No Vice Presidential candidate                                                        Washington, DC 20016
                                                                                       213.798.0400
                                                                                       Ameer@AmeerFlippin.com
                                                                                       www.AmeerFlippin.com
 Martin Christopher Carlisle (President)           Independent Candidates              222 Lytton Ave
 John Anthony Quintanilla (Vice President)                                             Pittsburgh, PA 15213
                                                                                       719.930.7607
                                                                                       http://president.martincarlisle.com
 Robert L. Buchanan (President)                    Independent Candidates              PO Box 6151
 Jason Alexander Washington (Vice                                                      Fredericksburg, VA 22403
 President)                                                                            540.842.6859
                                                                                       info@whatsmyoption.com
                                                                                       www.whatsmyoption.com
 Henry Bartlett (President)                        Independent Candidate               1820 Tree Top Way
 No Vice Presidential candidate                                                        Marietta, GA 30062
                                                                                       470.338.0586
                                                                                       henrylbartlett@yahoo.com
 Star Locke (President)                            Independent Candidate               PO Box 338
 No Vice Presidential candidate                                                        Port Aransas, TX 78373
                                                                                       361.558.5221
                                                                                       starovertexas@aol.com
                                                                                       www.starovertexas.com
 Mike Smith (President)                            Independent Candidates              PO Box 51116
 Daniel Lee White (Vice President)                                                     Colorado Springs, CO 80949
                                                                                       719.301.7145
                                                                                       Smithandwhite2016@gmail.com
                                                                                       www.mikesmith2016.org
 Kevin Michael Moreau (President)                  Independent Candidate               601 S San Pedro St
 No Vice Presidential candidate                                                        Los Angeles, CA 90014
                                                                                       213.297.9680
                                                                                       kevin@usawethepeople.org
 Michael S. Olkowski (President)                   Independent Candidate               4590 W Hickory Rd
 No Vice Presidential candidate                                                        Hickory Corners, MI 49060
                                                                                       269.671.4534
                                                                                       mike@skibrothers.com
 William Richard Griffith (President)              The Party of Moderate               7303 13th Ave NW
 Titus Hunter Rhoades (Vice-President)             Progress Within the Bounds          Seattle, WA 98117
                                                   of the Law                          Stone.cold.totally.crazy@gmail.com
 William E. Bowhall Jr. (President)                3rd Party (Non-Traditional)         2016 Old Lafayette Hwy
 No Vice Presidential candidate                    Independent                         Opelika, AL 36801
                                                                                       honeybeargold@yahoo.com
                                                                                       william-bowhall-for-president.my-
                                                                                       free.website




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 Official List of Presidential Write-In Candidates for the 2016 General Election

 Candidate's Name                                  Political Affiliation               Campaign Information
 Richard Baxter Edgell (President)                 Republican                          30 La Resolana Ave NW
 No Vice Presidential candidate                                                        Rio Rancho, NM 87144
                                                                                       512.705.0286
                                                                                       edgellrichard@yahoo.com
 Paij Jean Boring (President)                      Republican                          PO Box 781443
 No Vice Presidential candidate                                                        Wichita, KS 67207-9998
                                                                                       Paij@PaijForPresident.com
                                                                                       https://www/PaijForPresident.com
 Darryl W. Perry (President)                       NH Liberty                          63 Emerald St #36963 Emerald St #369
 Conan Salada (Vice President)                                                         Keene, NH 03431
                                                                                       202.709.4377
                                                                                       Darryl@DarrylWPerry.com
                                                                                       www.DarrylWPerry.com
 Willie Felix Carter (President)                   Democratic                          4701 Clair Del Ave Apt 824
 Donald L. Dear (Vice President)                                                       Long Beach, CA 90807
                                                                                       562.728.1693
                                                                                       williie@williecarterforpresident.com
                                                                                       www.williecarterforpresident.com
 James Walter Jobe (President)                     Justice for Harambe                 4601 Powhatan Ave Apt 446
 Reillie Alene Murphy (Vice President)                                                 Norfolk, VA 23508-1853
                                                                                       757.206.3408
                                                                                       jamesgerbil@gmail.com
                                                                                       www.jobe2016.weebly.com
 “Rocky” Roque De La Fuente (President)            American Delta                      4925 Independence Parkway #195
 Michael Steinberg (Vice President)                                                    Tampa, FL 33634
                                                                                       786.804.1844
                                                                                       info@Rocky2016.com
                                                                                       www.Rocky2016.com
 Lynn Kahn (President)                             Independent Candidates              PO Box 497
 Kathy Monahan (Vice President)                                                        Kensington, MD 20895
                                                                                       603.717.1012
                                                                                       lynnskahn@vote4lynn2016.com
                                                                                       www.vote4lynn2016.com
 Michael Anderw Maturen (President)                American Solidarity                 3296 E Clemens Rd
 Juan Antonio Munoz (Vice President)                                                   Harrisville, MI 48740
                                                                                       989.335.1661
                                                                                       mikematuren@gmail.com
 No Presidential candidate                         Independent Candidate               2035 7th
 David L. Friedeberg (Vice President)                                                  West Helens, AR 72390
                                                                                       870.816.6234
                                                                                       friedebergdavid@yahoo.com
                                                                                       www.librace2016.com
 Dennis Andrew Ball (President)                    American Party of America           205 E Main St #84
 No Vice Presidential candidate                                                        Marion, IL 62959
                                                                                       480.262.2184
 Dori Thomas Monson (President)                    Independent Candidate               1820 Eastlake Ave E
 No Vice Presidential candidate                                                        Seattle, WA 98102
                                                                                       206.726.5419
                                                                                       DMonson@bonneville.com




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 Official List of Presidential Write-In Candidates for the 2016 General Election

 Candidate's Name                                  Political Affiliation               Campaign Information
 William Joseph Maus (President)                   Independent Candidate               2632 Fishtrap Rd NE
 No Vice Presidential Candidate                                                        Olympia, WA 98506
                                                                                       253.444.7348
                                                                                       Hatrick40@aol.com
 Philip D. Boynton (President)                     Independent Candidate               26020 SE 158th St
 No Vice Presidential Candidate                                                        Issaquah, WA 98027
                                                                                       425.466.8691
                                                                                       Redcoat155@gmail.com
 William Anthony Hess IV (President)               Independent Candidate               30902 Finn Settlement Rd
 No Vice Presidential Candidate                                                        Arlington, WA 98223
                                                                                       360.870.2643
                                                                                       Wahess76@gmail.com
 Scott Erwin Miller (President)                    Independent Candidate               402 E 75th St
 No Vice Presidential Candidate                                                        Tacoma, WA 98404
                                                                                       970.222.6365
                                                                                       Scott.miller@gmail.com
                                                                                       www.facebook.com/scott237
 James Edward Edalgo (President)                   Independent Candidates              6203 S Jonett St
 Alphonse Sabastian Reddicus (Vice                                                     Tacoma, WA 98409
 President)                                                                            253.273.3937
                                                                                       nbdywill@gmx.com
 Troy Morgan Kokes (President)                     Independent Candidates              12115 19th Ave SE #L306
 John M Cooke (Vice President)                                                         Everett, WA 98208
                                                                                       817.688.0646
                                                                                       Troykokes25@yahoo.com
 Tom Hoefling (President)                          Independent Candidates              PO Box 34
 Steven Bernard Schulin (Vice President)                                               Lohrville, IA 51453
                                                                                       515.351.0540
                                                                                       tomhoefling@gmail.com
                                                                                       www.tomhoefling.com
 Evan McMullin (President)                         Independent Candidates              119 S Monroe St
 Nathan Daniel Johnson (Vice President)                                                Ste 300
                                                                                       Tallahassee, FL 32301
                                                                                       850.425.2333
                                                                                       mjazil@evanmcmullin.com
                                                                                       www.evanmcmullin.com
 Gloria Dawn Strickland (President)                Independent Candidates              PO Box 384
 Sharon E. Marth (Vice President)                                                      West Bend, WI 53095
                                                                                       262.573.7818
                                                                                       Gloria4uspres@aol.com
 Barbara Joan Whitaker (President)                 Independent Candidate               PO Box 42
 No Vice Presidential Candidate                                                        New York City, NY 10014
                                                                                       917.870.5272
                                                                                       info@waitingforscotus.com
                                                                                       www.waitingforscotus.com
 Joe Charles Schriner (President)                  Independent Candidates              759 Woodlawn Rd
 Joe Moreaux (Vice President)                                                          Stevbenville, OH 43952
                                                                                       419.788-5528
                                                                                       joeschriner@hotmail.com
                                                                                       www.voteforjoe.com


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 Official List of Presidential Write-In Candidates for the 2016 General Election

 Candidate's Name                                  Political Affiliation               Campaign Information
 Adam Lee Semon (President)                        Independent Candidate               8322 52nd Dr NE
 No Vice Presidential Candidate                                                        Marysville, WA 98270
                                                                                       360.722.9109
                                                                                       Asemon77@gmail.com
 Alan Jacquemotte (President)                      Actual Justice                      33555 Ryan Rd
 No Vice Presidential Candidate                                                        Sterling Heights, MI 48310
                                                                                       586.298.4943
                                                                                       Alan_jacquemotte@yahoo.com
                                                                                       www.ajparty.org
 Charles R. Zerilli (President)                    Wake Up                             776 Annadale Rd
 No Vice Presidential Candidate                                                        Staten Island, NY 10312
                                                                                       718.816.6900
                                                                                       TheNextPresident@juno.com
 Johnson Immanuel Y. Li (President)                Star Spangled Banner                32226 2nd Ave SW
 No Vice Presidential Candidate                    Independent                         Federal Way, WA 98023
                                                                                       632.722.6838
                                                                                       u.s.presidentjohnsonli@gmail.com
                                                                                       www.facebook.com/JohnsonLi4President
 Asher J. Kobin (President)                        Independent Candidate               215 10th Ave E #144
 No Vice Presidential Candidate                                                        Seattle, WA 98102
                                                                                       425.443.8700
                                                                                       asherkobin@gmail.com
 Delano Aimes Steinacker II (President)            Independent Candidates              3488 Yonah Homer Rd
 Ronald K. Crider (Vice President)                                                     Alto, GA 30510
                                                                                       520.221.0957
                                                                                       24x7man@gmail.com
                                                                                       www.letsgetbusy.us
 Demetra Jefferson Wysinger (President)            Popit Reform                        3601 S Ravinia Dr
 Cedric D’Wayne Jefferson (Vice President)                                             Dallas, TX 75233
                                                                                       469.364.2501
                                                                                       AmericaWinsWithWysinger@yahoo.com
 Daniel Stevens Martin (President)                 Independent Candidate               20410 120th Ave E
 No Vice Presidential Candidate                                                        Graham, WA 90338
                                                                                       206.396.1123
                                                                                       dansmartin@hotmail.com
 Juan Bautista Botero (President)                  Republican                          General Delivery
 No Vice Presidential Candidate                                                        Sun Valley, CA 91353
                                                                                       720.343.0066
                                                                                       Juanb.botero77@gmail.com
                                                                                       www.ipotus.net




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                                                            EXHIBIT 3
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                                                            EXHIBIT 3
                                                            De La Fuente0001181
                                                                Initial Disclosures
